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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


UNITED STATES OF AMERICA,                  Criminal No. 17-20067

                  Plaintiff,               Honorable Robert H. Cleland
vs.

D-2 ALXLEOTOLD GORDON,

              Defendant.
____________________________/


                                ORDER TO SEAL

      The government having moved to seal its exhibit and the Court being duly

advised in the premises;

IT IS HEREBY ORDERED that Exhibit C (Medical Records) to the United States’

Response and Opposition to Defendant’s Motion for Compassionate Release be

sealed until further Order of the Court.


                                             s/Robert H. Cleland
                                             Honorable Robert H. Cleland
                                             United States District Judge


Dated:     July 29, 2020
